Case 8:23-bk-10097-MH Doc 29 Filed 03/15/23 Entered 03/15/23 04:59:46                                       Desc
 1 Fanny Wan (SBN 277606)     Main Document Page 1 of 5
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 4
       Attorneys for Creditor
 5
       Metropolitan Life Insurance Company
 6

 7                                   UNITED STATES BANKRUPTCY COURT

 8                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 9
         In re
10                                                                  Case No. please use emailed pdf
         John Franklin Kohl, III,
11                                                                  Chapter 13
         Fe Penaverde Kohl,
12                                                                  OBJECTION TO CONFIRMATION OF
                                                                    DEBTOR’S 1st AMENDED CHAPTER 13
13                        Debtors.                                  PLAN OF REORGANIZATION
14                                                                  SUBJECT PROPERTY:
                                                                    27406 Onlee Ave
15                                                                  Santa Clarita, California 91350
16                                                                  CONFIRMATION HEARING:
                                                                    DATE:    March 30, 2023
17                                                                  TIME:     10:30 AM
                                                                    PLACE:   411 W Fourth St.,
18                                                                           Santa Ana, CA 92701
                                                                    CTRM:     6C
19                                                                  JUDGE:    Mark D. Houle
20               Metropolitan Life Insurance Company, by and through its authorized loan servicing
21   agent, Shellpoint Mortgage Servicing (collectively the “Creditor”), secured creditor of the
22   above-entitled debtor, John Franklin Kohl, III AND Fe Penaverde Kohl (“Debtors”), hereby
23   objects to confirmation of the Chapter 13 Plan filed by the Debtor in the above-referenced matter.
24   The basis of the objection is stated below:1
25

26   1This objection shall not constitute a waiver of the within party’s right to receive service pursuant to Fed. R. Civ. P.
     4, made applicable to this proceeding by Fed. R. Bankr. P. 7004, notwithstanding Robertson, Anschutz, & Schneid
27   & Crane LLP’s participation in this proceeding. Moreover, the within party does not authorize Robertson, Anschutz,
28
                                                                -1-                            CASE NO. 8:23-bk-10097-MH


         OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN OF REORGNAIZATION
Case 8:23-bk-10097-MH               Doc 29 Filed 03/15/23 Entered 03/15/23 04:59:46                         Desc
 1                                   Main Document    Page 2 of 5

 2                               I.     STATEMENT OF FACTS2
              On or about December 1, 2007, John Franklin Kohl, III executed a promissory note in the
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         original principal sum of $1,260,000.00 (the “Note”) which was made payable to Duxford
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         Financial, Inc., A California Corporation (“Lender”). The Note was and remains secured by a
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         recorded deed of trust (the “Deed of Trust”) encumbering the real property located at 27462 Calle
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         De La Rosa, San Juan Capistrano, CA 92675 (the “Subject Property”). Subsequently, Lender’s
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         beneficial interest under the Deed of Trust was transferred to Creditor.
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              On January 19, 2023, Debtor filed the instant Chapter 13 bankruptcy petition in the United
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         States Bankruptcy Court for the Central District of California – Santa Ana Division, and was
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         assigned case number 8:23-bk-10097-MH.
 11
              On February 27, 2023, Debtor filed his 1st Amended Chapter 13 Plan (“Plan”) which
 12
         provides for Creditor’s claim in Class 1. The Plan includes payments towards Creditor’s claim;
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         however, the figures used by the Debtor are inaccurate.
 14
              On February 27 , 2023, Debtor filed his Chapter 13 Plan (“Plan”) which provides for
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         Creditor’s claim in Class 1. The Plan includes payments towards Creditor’s claim; however, the
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         figures used by the Debtor are inaccurate. Secured Creditor’s anticipates its Proof of Claim will
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         show the pre-petition arrearage due to Creditor in the amount of $95,193.46, whereas the Plan
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         proposes to pay only $95,067.00.
 19
              The Debtor’s 1st Amended plan provides that the Debtor will make minimal payments for 12
 20
         months and then a lump sum payment in month 13.
 21

 22                                                     II. ARGUMENT
 23      A. DEBTOR’S 1st AMENDED CHAPTER 13 PLAN CANNOT BE CONFIRMED
            BECAUSE IT DOES NOT PROMPTLY CURE CREDITOR’S PRE-PETITION
 24         ARREARS AS REQUIRED BY 11 U.S.C. §1322(b)(5)
            Section 1325(a)(1) requires that “the plan complies with the provisions of this chapter and
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         with the other applicable provisions of this title.” 11 U.S.C. § 1325(a)(1). Section 1322(b)(5)
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         requires that all chapter 13 plans must provide for the “curing of any default within a reasonable
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         time and maintenance of payments while the case is pending on any unsecured claim or secured
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         claim on which the last payment is due after the date on which the final payment under the plan is



          Schneid & Crane, LLP, either expressly or impliedly through Robertson, Anschutz, Schneid & Crane LLP’s
      participation in this proceeding, to act as its agent for purposes of service under Fed. R. Bankr. P. 7004.
      2 Pursuant to Rules 201(b) and 201(d) of the Federal Rules of Evidence, which are made applicable to this proceeding by
Case 8:23-bk-10097-MH           Doc 29 Filed 03/15/23 Entered 03/15/23 04:59:46 Desc
                                  Main Document
   Rule 9017 of Federal Rules of Bankruptcy               Pagerequests
                                            Procedure, Creditor 3 of 5that the Court take judicial notice of the sworn
   bankruptcy schedules and other relevant documents filed in the instant case.


                                        -2-                  CASE NO. 8:23-bk-10097-MH
          OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN OF REORGNAIZATIO
Case 8:23-bk-10097-MH       Doc 29 Filed 03/15/23 Entered 03/15/23 04:59:46                Desc
                             Main Document    Page 4 of 5
     due.” Further, section 1322(b)(2) prohibits debtors from modifying the rights of secured creditor

     whose security interest is secured solely by the debtor’s principal residence.
           In the present case, the major deficiency with Debtor’s Plan is that it incorrectly asserts the

     outstanding arrearage balance of Creditor’s pre-petition claim. Specifically, Debtor’s Plan states

     that Creditor’s pre-petition arrears are only $95,067.00; however, Creditor’s claim reflects

     pre-petition arrears in the amount of $95,193.46. Accordingly, Debtor’s Plan fails to meet the

     requirements of section 1325(a)(1) because it does not provide to promptly cure the entire
     outstanding balance of Creditor’s arrearage claim as required by section 1322(b)(5). Based upon

     the foregoing, the Court should deny confirmation of the Debtor’s Plan. In the alternative, the

     Court should confirm the Plan with a provision stating the Debtor must cure Creditor’s entire
     pre-petition arrears, estimated in the amount of $95,193.46, in equal monthly payments over a

     period of time not to exceed (36) months. Additionally, The Debtor’s 1st Amended plan provides

     that the Debtor will make minimal payments for 12 months and then a lump sum payment in

     month 13.

           WHEREFORE, Creditor respectfully requests:
                    1.      That the Court deny confirmation of the Debtor’s Plan;

                    2.      For such other and further relief as this court deems just and proper


                                                  ROBERTSON, ANSCHUTZ, SCHNEID &
                                                  CRANE LLP

     Dated: 3/15/2023                          /s/ Fanny Wan (SBN 277606)
                                                   ATTY NAME
                                                   Attorneys for Creditor, Metropolitan Life Insurance
                                                   Company
Case 8:23-bk-10097-MH   Doc 29 Filed 03/15/23 Entered 03/15/23 04:59:46            Desc
                         Main Document    Page 5 of 5



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     8                                -3-
                                      CASE NO. 8:23-bk-10097-MH
     9
            OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN OF
  10                            REORGNAIZATION

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                                                                           Kohl III , John F
  27                                                              Objection to Confirmation
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  28
